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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

                                          CLERK’S MINUTES

 CASE NO.:        8:15-cv-2787-T-17AEP                    DATE:     September 24, 2018

 HONORABLE ELIZABETH A. KOVACHEVICH

 ANGELA DEBOSE                                          PLAINTIFF COUNSEL
                                                        Angela DeBose, pro se
 v.

 USF BOARD OF TRUSTEES                                  DEFENDANT COUNSEL
                                                        Richard McCrea & Cayla McCrea Page


 COURT REPORTER: David Collier                            DEPUTY CLERK:           Sonya Cohn

 TIME: 10:46 – 12:30; 1:33 – 2:47 p.m.                    COURTROOM:              14A
 TOTAL: 2 hrs. 58 min.


PROCEEDINGS:          JURY TRIAL (DAY 9)

10:46 - Court in session; jury seated; Direct resumes of William Travis Thompson; cross; redirect;
        Recross; re-redirect; re-recross
11:43 - Carrie Garcia takes stand – direct; cross; redirect
12:30 - Lunch break until 1:30
1:33 - Court in session. Dft renews oral Rule 50 motion – deferred. Plaintiff’s oral Rule 50 motion –
        deferred. Court allows Plaintiff to reopen case regarding damages only.
2:13 - Jury seated; Defendant rests. Plaintiff takes stand to testify regarding damages only – direct;
        cross.
2:34 - Jury released until 10:00 a.m. on 9/25. Court addresses exhibit issues with parties. Court
        adjourned.
